                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                                 Case No. 8:03-cr-77-T-36JSS

SAMI AMIN AL-ARIAN
                                            /

         ORDER ON DEFENDANT’S MOTION FOR RETURN OF PROPERTY

       THIS MATTER is before the Court on Defendant’s Motion for Return of Property. (Dkt.

1701.) Defendant moves for the return of personal property under Federal Rule of Criminal

Procedure 41(g), which provides that “[a] person aggrieved by an unlawful search and seizure of

property or by the deprivation of property may move for the property’s return.” The subject

property was seized from Defendant by the Government during an investigation of this case, which

involved Defendant and eight other individuals. (Dkt. 1707.)

       The Court held hearings on this matter on October 17, 2016, and November 18, 2016,

during which the Government argued that the materials seized from Defendant have evidentiary

value to ongoing criminal proceedings against remaining individuals with whom Defendant was

indicted and who “remain fugitives to be tried.” (Dkt. 1707.) Additionally, the Government

agreed to return the materials to Defendant on a rolling basis, which Defendant does not oppose.

Indeed, at this stage in the proceedings, production of the materials is ongoing, and both parties

expect that this issue may be resolved or narrowed at the conclusion of production. As such, it

appears that a determination on this matter is premature.

       Accordingly, it is ORDERED that Defendant’s Motion for Return of Property (Dkt. 1701)

is DENIED without prejudice. To the extent that Defendant, at the conclusion of production,
contends that certain materials have not been produced, he may file a motion concerning the

specific materials that have been withheld and the basis for returning such materials.

       DONE and ORDERED in Tampa, Florida, on November 18, 2016.




Copies furnished to:
Counsel of Record




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